Case 25-30895   Doc 36   Filed 04/28/25 Entered 04/28/25 10:47:50   Desc Main
                          Document     Page 1 of 17




                                      AMENDED
Case 25-30895   Doc 36   Filed 04/28/25 Entered 04/28/25 10:47:50   Desc Main
                          Document     Page 2 of 17
            Case 25-30895   Doc 36   Filed 04/28/25 Entered 04/28/25 10:47:50   Desc Main
                                      Document     Page 3 of 17




EXHIBIT 1
Case 25-30895   Doc 36   Filed 04/28/25 Entered 04/28/25 10:47:50   Desc Main
                          Document     Page 4 of 17
Case 25-30895   Doc 36   Filed 04/28/25 Entered 04/28/25 10:47:50   Desc Main
                          Document     Page 5 of 17
Case 25-30895   Doc 36   Filed 04/28/25 Entered 04/28/25 10:47:50   Desc Main
                          Document     Page 6 of 17
Case 25-30895   Doc 36   Filed 04/28/25 Entered 04/28/25 10:47:50   Desc Main
                          Document     Page 7 of 17
Case 25-30895   Doc 36   Filed 04/28/25 Entered 04/28/25 10:47:50   Desc Main
                          Document     Page 8 of 17
Case 25-30895   Doc 36   Filed 04/28/25 Entered 04/28/25 10:47:50   Desc Main
                          Document     Page 9 of 17
Case 25-30895   Doc 36   Filed 04/28/25 Entered 04/28/25 10:47:50   Desc Main
                         Document      Page 10 of 17
Case 25-30895   Doc 36   Filed 04/28/25 Entered 04/28/25 10:47:50   Desc Main
                         Document      Page 11 of 17
Case 25-30895   Doc 36   Filed 04/28/25 Entered 04/28/25 10:47:50   Desc Main
                         Document      Page 12 of 17
Case 25-30895   Doc 36   Filed 04/28/25 Entered 04/28/25 10:47:50   Desc Main
                         Document      Page 13 of 17
Case 25-30895   Doc 36   Filed 04/28/25 Entered 04/28/25 10:47:50   Desc Main
                         Document      Page 14 of 17
ase 25-30895    Doc 36   Filed 04/28/25 Entered 04/28/25 10:47:50   Desc Ma
                         Document      Page 15 of 17




    EXHIBIT 2
ase 25-30895   Doc 36   Filed 04/28/25 Entered 04/28/25 10:47:50   Desc Ma
                        Document      Page 16 of 17
  Case 25-30895         Doc 36   Filed 04/28/25 Entered 04/28/25 10:47:50          Desc Main
                                 Document      Page 17 of 17



                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA

 In Re:                                            CHAPTER 7 CASE
                                                   CASE NO. 25-30895
 Afnan Mohammed Husain
                                                   UNSWORN DECLARATION FOR PROOF
                   Debtor(s).                      OF SERVICE
 ___________________________________

         James Ockwig, employed by Wilford, Geske & Cook, P.A., attorneys licensed to practice
law in this Court, with office address at 7616 Currell Boulevard, Suite 200, Woodbury, MN
55125, declares that on April 28, 2025, I served the annexed Amended Affidavit of Carvana
LLC to each person referenced below, a copy thereof by enclosing the same in an envelope with
first class postage prepaid and depositing same in the post office at Woodbury, Minnesota
addressed to each of them as follows:

Afnan Mohammed Husain
PO Box 4272
Mankato, MN 56002

and delivered by e-mail notification under CM/ECF on the day efiled with the Court to each of
them as follows:


Michael S. Dietz

The Office of the United States Trustee

And I declare, under penalty of perjury, that the foregoing is true and correct.

Dated: April 28, 2025



                                               /e/ James Ockwig
                                                   James Ockwig
